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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   JOHN DOE,

                  Plaintiff,
                                                 CASE NO. 6:20-cv-01220-WWB-LRH
   vs.

   EMBRY-RIDDLE AERONAUTICAL
   UNIVERSITY, INC.,

                  Defendant.
                                                 /

                      DEFENDANT’S PROPOSED JURY INSTRUCTIONS

          Defendant Embry-Riddle Aeronautical University, Inc. submits the following

   proposed jury instructions:

                                     REQUEST TO CHARGE NO. 1
                                    General Preliminary Instruction
                               (11th Cir. Patt. Jury Instr. 1.1 (2020 ed.))1

   Members of the Jury:

          Now that you’ve been sworn, I need to explain some basic principles about a civil

   trial and your duty as jurors. These are preliminary instructions. I’ll give you more detailed

   instructions at the end of the trial.

   The jury’s duty:

          It’s your duty to listen to the evidence, decide what happened, and apply the law

   to the facts. It’s my job to provide you with the law you must apply – and you must follow

   the law even if you disagree with it.




   1This pattern instruction has been slightly modified to fill in the party names and provide
   a description of the case.
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   What is evidence:

          You must decide the case on only the evidence presented in the courtroom.

   Evidence comes in many forms. It can be testimony about what someone saw, heard, or

   smelled. It can be an exhibit or a photograph. It can be someone’s opinion.

          Some evidence may prove a fact indirectly. Let’s say a witness saw wet grass

   outside and people walking into the courthouse carrying wet umbrellas. This may be

   indirect evidence that it rained, even though the witness didn’t personally see it rain.

   Indirect evidence like this is also called “circumstantial evidence” – simply a chain of

   circumstances that likely proves a fact.

          As far as the law is concerned, it makes no difference whether evidence is direct

   or indirect. You may choose to believe or disbelieve either kind. Your job is to give each

   piece of evidence whatever weight you think it deserves.

   What is not evidence:

          During the trial, you’ll hear certain things that are not evidence and you must not

   consider them.

          First, the lawyers’ statements and arguments aren’t evidence. In their opening

   statements and closing arguments, the lawyers will discuss the case. Their remarks may

   help you follow each side’s arguments and presentation of evidence. But the remarks

   themselves aren’t evidence and shouldn’t play a role in your deliberations.

          Second, the lawyers’ questions and objections aren’t evidence. Only the

   witnesses’ answers are evidence. Don’t decide that something is true just because a

   lawyer’s question suggests that it is. For example, a lawyer may ask a witness, “You saw

   Mr. Jones hit his sister, didn’t you?” That question is not evidence of what the witness

   saw or what Mr. Jones did – unless the witness agrees with it.

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          There are rules of evidence that control what the court can receive into evidence.

   When a lawyer asks a witness a question or presents an exhibit, the opposing lawyer may

   object if he/she thinks the rules of evidence don’t permit it. If I overrule the objection, then

   the witness may answer the question or the court may receive the exhibit. If I sustain the

   objection, then the witness cannot answer the question, and the court cannot receive the

   exhibit. When I sustain an objection to a question, you must ignore the question and not

   guess what the answer might have been.

          Sometimes I may disallow evidence – this is also called “striking” evidence – and

   order you to disregard or ignore it. That means that you must not consider that evidence

   when you are deciding the case. I may allow some evidence for only a limited purpose.

   When I instruct you that I have admitted an item of evidence for a limited purpose, you

   must consider it for only that purpose and no other.

   Credibility of witnesses:

          To reach a verdict, you may have to decide which testimony to believe and which

   testimony not to believe. You may believe everything a witness says, part of it, or none of

   it. When considering a witness’s testimony, you may take into account:

                 the witness’s opportunity and ability to see, hear, or know the things the

                  witness is testifying about;

                 the witness’s memory;

                 the witness’s manner while testifying;

                 any interest the witness has in the outcome of the case;

                 any bias or prejudice the witness may have;

                 any other evidence that contradicts the witness’s testimony;



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                     the reasonableness of the witness’s testimony in light of all the evidence;

                      and

                     any other factors affecting believability.

           At the end of the trial, I’ll give you additional guidelines for determining a witness’s

   credibility.

   Description of the case:

           This is a civil case. To help you follow the evidence, I’ll summarize the parties’

   positions.

           Plaintiff is a student at Embry-Riddle Aeronautical University. He was expelled

   after Embry-Riddle found him responsible for violating Embry-Riddle’s Sexual Misconduct

   Policy by engaging in non-consensual sexual penetration with another student, Jane Roe.

   Embry-Riddle investigated and adjudicated the incident under its Resolution Process that

   applied to sexual misconduct cases.

           Plaintiff contends that Embry-Riddle discriminated against him on the basis of his

   gender when it investigated and took disciplinary action against him for that alleged

   incident involving Jane Roe. Plaintiff further contends that Embry-Riddle breached its

   contract with him by failing to adhere to the terms of the Sexual Misconduct Policy and

   the Resolution Process.

           Embry-Riddle denies those allegations, contending that it treated Plaintiff fairly and

   equitably and complied with the Sexual Misconduct Policy and Resolution Process.

   Embry-Riddle further contends that its alleged non-performance under the parties’

   contract is excused because Plaintiff materially breached his own contractual obligations

   under the Resolution Process.

             Burden of proof:
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          Plaintiff has the burden of proving his case by what the law calls a “preponderance

   of the evidence.” That means Plaintiff must prove that, in light of all the evidence, what

   he claims is more likely true than not. So, if you could put the evidence favoring Plaintiff

   and the evidence favoring Defendant on opposite sides of balancing scales, Plaintiff

   needs to make the scales tip to his side. If Plaintiff fails to meet this burden, you must find

   in favor of Defendant.

          To decide whether any fact has been proved by a preponderance of the evidence,

   you may – unless I instruct you otherwise – consider the testimony of all witnesses,

   regardless of who called them, and all exhibits that the court allowed, regardless of who

   produced them. After considering all the evidence, if you decide a claim or fact is more

   likely true than not, then the claim or fact has been proved by a preponderance of the

   evidence.

   Conduct of the jury:

          While serving on the jury, you may not talk with anyone about anything related to

   the case. You may tell people that you’re a juror and give them information about when

   you must be in court. But you must not discuss anything about the case itself with anyone.

          You shouldn’t even talk about the case with each other until you begin your

   deliberations. You want to make sure you’ve heard everything – all the evidence, the

   lawyers’ closing arguments, and my instructions on the law – before you begin

   deliberating. You should keep an open mind until the end of the trial. Premature

   discussions may lead to a premature decision.

          In this age of technology, I want to emphasize that in addition to not talking face-

   to-face with anyone about the case, you must not communicate with anyone about the

   case by any other means. This includes e-mails, text messages, phone calls, and the

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   Internet, including social-networking websites and apps such as Facebook, Instagram,

   Snapchat, YouTube, and Twitter. You may not use any similar technology of social media,

   even if I have not specifically mentioned it here.

          You must not provide any information about the case to anyone by any means

   whatsoever, and that includes posting information about the case, or what you are doing

   in the case, on any device or Internet site, including blogs, chat rooms, social websites,

   or any other means.

          You also shouldn’t Google or search online or offline for any information about the

   case, the parties, or the law. Don’t read or listen to the news about this case, visit any

   places related to this case, or research any fact, issue, or law related to this case. The

   law forbids the jurors to talk with anyone else about the case and forbids anyone else to

   talk to the jurors about it. It’s very important that you understand why these rules exist

   and why they’re so important. You must base your decision only on the testimony and

   other evidence presented in the courtroom. It is not fair to the parties if you base your

   decision in any way on information you acquire outside the courtroom. For example, the

   law often uses words and phrases in special ways, so it’s important that any definitions

   you hear come only from me and not from any other source. Only you jurors can decide

   a verdict in this case. The law sees only you as fair, and only you have promised to be

   fair – no one else is so qualified.

   Taking notes:

          If you wish, you may take notes to help you remember what the witnesses said. If

   you do take notes, please don’t share them with anyone until you go to the jury room to

   decide the case. Don’t let note-taking distract you from carefully listening to and observing



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   the witnesses. When you leave the courtroom, you should leave your notes hidden from

   view in the jury room.

          Whether or not you take notes, you should rely on your own memory of the

   testimony. Your notes are there only to help your memory. They’re not entitled to greater

   weight than your memory or impression about the testimony.

   Course of the trial:

          Let’s walk through the trial. First, each side may make an opening statement, but

   they don’t have to. Remember, an opening statement isn’t evidence, and it’s not

   supposed to be argumentative; it’s just an outline of what that party intends to prove.

          Next, Plaintiff John Doe will present his witnesses and ask them questions. After

   Plaintiff questions the witness, Defendant Embry-Riddle may ask the witness questions

   – this is called “cross-examining” the witness. Then Embry-Riddle will present its

   witnesses, and Plaintiff may cross-examine them. You should base your decision on all

   the evidence, regardless of which party presented it.

          After all the evidence is in, the parties’ lawyers will present their closing arguments

   to summarize and interpret the evidence for you, and then I’ll give you instructions on the

   law. You’ll then go to the jury room to deliberate.



                                   REQUEST TO CHARGE NO. 2
                                      Legal Status of Entities
                          (Florida Standard Civil Jury Instruction 416.44)

          Embry-Riddle University is a type of corporation. A Corporation in this context is a

   person under the law. All persons, whether Universities or individuals, are entitled to equal

   treatment under the law.

          A University can act only through its employees.

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                              REQUEST TO CHARGE NO. 3
      Consideration of Direct and Circumstantial Evidence; Argument of Counsel;
                                Comments by the Court
                           th
                        (11 Cir. Patt. Jury Instr. 3.3 (2020 ed.))

          As I said before, you must consider only the evidence that I have admitted in the

   case. Evidence includes the testimony of witnesses and the exhibits admitted. But,

   anything the lawyers say is not evidence and isn’t binding on you.

          You shouldn’t assume from anything I’ve said that I have any opinion about any

   factual issue in this case. Except for my instructions to you on the law, you should

   disregard anything I may have said during the trial in arriving at your own decision about

   the facts.

          Your own recollection and interpretation of the evidence is what matters.

          In considering the evidence you may use reasoning and common sense to make

   deductions and reach conclusions. You shouldn’t be concerned about whether the

   evidence is direct or circumstantial.

          “Direct evidence” is the testimony of a person who asserts that he or she has actual

   knowledge of a fact, such as an eyewitness.

          “Circumstantial evidence” is proof of a chain of facts and circumstances that tend

   to prove or disprove a fact. There’s no legal difference in the weight you may give to either

   direct or circumstantial evidence.



                                 REQUEST TO CHARGE NO. 4
                                   Credibility of Witnesses
                              th
                           (11 Cir. Patt. Jury Instr. 3.4 (2020 ed.))

          When I say you must consider all the evidence, I don’t mean that you must accept

   all the evidence as true or accurate. You should decide whether you believe what each


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   witness had to say, and how important that testimony was. In making that decision you

   may believe or disbelieve any witness, in whole or in part. The number of witnesses

   testifying concerning a particular point doesn’t necessarily matter.

          To decide whether you believe any witness I suggest that you ask yourself a few

   questions:

             1. Did the witness impress you as one who was telling the truth?

             2. Did the witness have any particular reason not to tell the truth?

             3. Did the witness have a personal interest in the outcome of the case?

             4. Did the witness seem to have a good memory?

             5. Did the witness have the opportunity and ability to accurately observe the

                 things he or she testified about?

             6. Did the witness appear to understand the questions clearly and answer

                 them directly?

             7. Did the witness’s testimony differ from other testimony or other evidence?



                            REQUEST TO CHARGE NO. 5
             Impeachment of Witnesses Because of Inconsistent Statements
                      (11th Cir. Patt. Jury Instr. 3.5.1 (2020 ed.))

          You should also ask yourself whether there was evidence that a witness testified

   falsely about an important fact. And ask whether there was evidence that at some other

   time a witness said or did something, or didn’t say or do something, that was different

   from the testimony the witness gave during this trial.

          But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling the

   truth as he or she remembers it. People naturally tend to forget some things or remember

   them inaccurately. So, if a witness misstated something, you must decide whether it was

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    because of an innocent lapse in memory or an intentional deception. The significance of

    your decision may depend on whether the misstatement is about an important fact or

    about an unimportant detail.



                               REQUEST TO CHARGE NO. 6
      Responsibility for Proof – Plaintiff’s Claims – Preponderance of the Evidence
                         (11th Cir. Patt. Jury Instr. 3.7.1 (2020 ed.))


            In this case it is the responsibility of the Plaintiff to prove every essential part of his

    claims by a “preponderance of the evidence.” This is sometimes called the “burden of

    proof” or the “burden of persuasion.”

            A “preponderance of the evidence” simply means an amount of evidence that is

    enough to persuade you that the Plaintiff’s claim is more likely true than not true.

            If the proof fails to establish any essential part of a claim or contention by a

    preponderance of the evidence, you should find against the Plaintiff.

            When more than one claim is involved, you should consider each claim separately.

            In deciding whether any fact has been proved by a preponderance of the evidence,

    you may consider the testimony of all of the witnesses, regardless of who may have called

    them, and all of the exhibits received in evidence, regardless of who may have produced

    them.

            If the proof fails to establish any essential part of the Plaintiff’s claims by a

    preponderance of the evidence, you should find for the Defendant as to that claim.



                               REQUEST TO CHARGE NO. 7
     Responsibility for Proof – Affirmative Defense – Preponderance of the Evidence
                         (11th Cir. Patt. Jury Instr. 3.7.2 (2020 ed.))


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           In this case, the Defendant asserts the affirmative defense of unclean hands. Even

    if the Plaintiff proves his claim(s) by a preponderance of the evidence, the Defendant can

    still prevail in this case if it proves an affirmative defense by a preponderance of the

    evidence.

           I caution you that the Defendant does not have to disprove the Plaintiff’s claims,

    but if the Defendant raises an affirmative defense, the only way it can prevail on that

    specific defense is if it proves that defense by a preponderance of the evidence.



                                REQUEST TO CHARGE NO. 8
                 Duty to Deliberate When Only the Plaintiff Claims Damages
                          (11th Cir. Patt. Jury Instr. 3.8.1 (2020 ed.))

           Of course, the fact that I have given you instructions concerning the issue of

    Plaintiff’s damages should not be interpreted in any way as an indication that I believe

    that the Plaintiff should, or should not, prevail in this case.

           Your verdict must be unanimous – in other words, you must all agree. Your

    deliberations are secret, and you’ll never have to explain your verdict to anyone.

           Each of you must decide the case for yourself, but only after fully considering the

    evidence with the other jurors. So you must discuss the case with one another and try to

    reach an agreement. While you’re discussing the case, don’t hesitate to reexamine your

    own opinion and change your mind if you become convinced that you were wrong. But

    don’t give up your honest beliefs just because others think differently or because you

    simply want to get the case over with.

           Remember that, in a very real way, you’re judges – judges of the facts. Your only

    interest is to seek the truth from the evidence in the case.



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                                  REQUEST TO CHARGE NO. 9
                      Election of Foreperson Explanation of Verdict Form
                         (11th Cir. Patt. Jury Instr. 3.9 (2020 ed))

           When you get to the jury room, choose one of your members to act as foreperson.

    The foreperson will direct your deliberations and speak for you in court.

           A verdict form has been prepared for your convenience.

                                            [Explain verdict]

           Take the verdict form with you to the jury room. When you’ve all agreed on the

    verdict, your foreperson must fill in the form, sign it and date it. Then you’ll return it to the

    courtroom.

           If you wish to communicate with me at any time, please write down your message

    or question and give it to the court security officer. The court security officer will bring it to

    me and I’ll respond as promptly as possible – either in writing or by talking to you in the

    courtroom. Please understand that I may have to talk to the lawyers and the parties before

    I respond to your question or message, so you should be patient as you await my

    response. But I caution you not to tell me how many jurors have voted one way or the

    other at that time. That type of information should remain in the jury room and not be

    shared with anyone, including me, in your note or question.



                                 REQUEST TO CHARGE NO. 10
                                     Legal Cause – Damage
                         (Florida Standard Civil Jury Instruction 417.6)

           Embry-Riddle’s alleged failure to investigate and adjudicate Plaintiff’s complaint of

    sexual misconduct against Jane Roe is the legal cause of his alleged injury if it directly

    and in natural and continuous sequence produces or contributes substantially to

    producing such damage, so that it can be reasonably said that, but for Embry-Riddle’s

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    failure to investigate and adjudicate Plaintiff’s complaint against Jane Roe, the injury

    would not have occurred.



                                 REQUEST TO CHARGE NO. 11
                 Title IX – Intentional Discrimination on the Basis of Gender

           Plaintiff has sued Embry-Riddle under Title IX of the Education Amendments of

    1972. Title IX prohibits colleges and universities from denying students access to

    educational benefits and opportunities on the basis of the student’s gender.2 Plaintiff

    contends that Embry-Riddle discriminated against him based on his gender when it

    investigated and took disciplinary actions against him for his alleged non-consensual

    sexual penetration of Jane Roe. For the Plaintiff to prevail against Embry-Riddle under

    Title IX, he must demonstrate that Embry-Riddle engaged in intentional 3 gender

    discrimination against him—i.e., that Embry-Riddle would not have investigated or taken

    disciplinary action against him had he not been male.4


    2 See 20 U.S.C. § 1681(a) (“No person in the United States shall, on the basis of sex, be
    excluded from participation in, be denied the benefits of, or be subjected to [gender]
    discrimination under any education program or activity receiving Federal financial
    assistance. . . .”).
    3 See Franklin v. Gwinnett Cnty. Pub. Schs., 503 U.S. 60, 75 (1992) (clarifying that Title IX’s

    implied private right of action requires a showing of intentional gender discrimination).
    4 See Sheppard v. Visitors of Va. St. Univ., 993 F.3d 230, 236-37 (4th Cir. 2021) (“We agree

    that ‘on the basis of sex’ requires ‘but-for’ causation in Title IX claims alleging discriminatory
    school disciplinary proceedings.”); cf. Bostock v. Clayton Cnty., Ga., 140 S. Ct. 1731, 1739
    (2020) (“[T]he ordinary meaning of ‘because of’ is ‘by reason of’ or ‘on account of.’ In the
    language of the law, this means that Title VII’s ‘because of’ test incorporates the simple and
    traditional standard of but-for causation.” (cleaned up)); Comcast Corp. v. Nat’l Ass’n of
    African American-Owned Media, 140 S. Ct. 1009, 1014 (2020) (“Under this [but-for] cause
    standard, a plaintiff must demonstrate that, but for the defendant’s unlawful conduct, its
    alleged injury would not have occurred. This ancient and simply ‘but for’ common law
    causation test, we have held, supplies the ‘default’ or ‘background’ rule against which
    Congress is normally presumed to have legislated when created its own new causes of
    action. That includes when it comes to federal antidiscrimination laws. . . .”); Schwarz v. City
    of Treasure Island, 544 F.3d 1201, 1212 n.6 (11th Cir. 2008) (explaining that Americans
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                                 REQUEST TO CHARGE NO. 12
                                Breach of Contract – Introduction

           Under Florida law, there is an implied contract between a student and a private

    university that if the student fully complies with the rules and regulations of the institution,

    then the university will confer to him a degree.5 In this case, Plaintiff contends that Embry-

    Riddle breached its implied contract with him by failing to adhere to the terms of the

    Sexual Misconduct Policy and Resolution Process.

           Embry-Riddle denies that it breached any provision of the Sexual Misconduct

    Policy or Resolution Process. Embry-Riddle further contends that Plaintiff may not

    recover for breach of contract because he did not perform all or substantially of his

    contractual obligations under the Resolution Process when, during the investigation,

    Plaintiff refused to turn over cell phone evidence that Embry-Riddle requested and lied

    about having any cell phone evidence—in breach of his contractual obligation under Page

    15, Subsection D. of the Resolution Process to cooperate with and participate in the

    investigation.




    with Disabilities Act, which prohibits discrimination “on the basis of disability,” requires
    plaintiff to show that his disability was the but-for cause of the disparate treatment).
    5 Villard v. Capella Univ., No. 6:17-cv-1429-Orl-41GJK, 2017 WL 9253388, at *2 (M.D. Fla.

    Dec. 21, 2017), report and recommendation adopted, 2018 WL 2011433 (Apr. 30, 2018)
    (quoting McCawley v. Universidad Carlos Albizu, Inc., 461 F. Supp. 2d 1251, 1257 (S.D. Fla.
    2006)).
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                                REQUEST TO CHARGE NO. 13
                        Breach of Contract – Essential Factual Elements
                (Florida Standard Contract & Business Jury Instructions 416.4)

           To recover damages from Embry-Riddle for breach of contract, Plaintiff must prove

    all of the following:

           1.      Plaintiff and Embry-Riddle entered into a contract;

           2.      Plaintiff did all, or substantially all, of the essential things which the

    contract required him to do or that he was excused from doing those things;

           3.      All conditions required by the contract for Embry-Riddle’s performance had

    occurred;

           4.      Embry-Riddle failed to do something essential which the contract required

    it to do, or Embry-Riddle did something which the contract prohibited it from doing and

    that prohibition was essential to the contract; and

           5.      Plaintiff was damaged by that failure.



                                  REQUEST TO CHARGE NO. 14
                      Interpretation – Construction of Contract As A Whole
                (Florida Standard Contract & Business Jury Instructions 416.17)

           In deciding what the disputed term(s) of the contract mean, you should consider

    the whole contract, not just isolated parts. You should use each part to help you interpret

    the others, so that all the parts make sense when taken together.



                                REQUEST TO CHARGE NO. 15
                                   Substantial Performance
                (Florida Standard Contract & Business Jury Instructions 416.12)

           Embry-Riddle claims that Plaintiff did not perform all of the essential things which

    the contract required, and therefore Embry-Riddle did not have to perform its obligations

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    under the contract. The doctrine of substantial performance applies when the variance

    from the contract specifications is inadvertent or unintentional and unimportant so that the

    work actually performed is substantially what was called for in the contract. 6

             To defeat this claim, Plaintiff must prove both of the following:

             1.      Plaintiff performed in good faith; and

             2.      Plaintiff’s performance was so nearly equivalent to what was bargained for

    that it would be unreasonable to deny him the right to recover for Embry-Riddle’s failure

    to fully perform.7



                                  REQUEST TO CHARGE NO. 16
                                   Breach of Contract Damages
                  (Florida Standard Contract & Business Jury Instructions 504.2) 8

             To prevail on his breach-of-contract claim, Plaintiff must prove by a preponderance

    of the evidence that he sustained damages as a result of Embry-Riddle’s alleged material

    breach of the Sexual Misconduct Policy or Resolution Process. In this case, he seeks

    both compensatory damages and special damages, which you shall be instructed on

    below:

                  a. Compensatory damages:

             Compensatory damages is that amount of money which will put Plaintiff in as good

    a position as he would have been if Embry-Riddle had not breached the contract and

    which naturally result from the breach.


    6 This sentence is not in Pattern Instruction No. 416.12. Rather it comes from footnote 4
    to Pattern Instruction No. 416.4 (Breach of Contract – Essential Factual Elements) (citing
    Lockhart v. Worsham, 508 So. 2d 411, 412 (Fla. 1st DCA 1987)).
    7 Defendant has slightly modified bullet point 2 to make it fit with the facts of this case.
    8 With the exception of the introductory paragraph, this proposed jury instruction is

    transcribed directly from the pattern instruction.
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               b. Special damages:

           Special damages is that amount of money which will compensate Plaintiff for those

    damages which do not normally result from the breach of contract. To recover special

    damages, Plaintiff must prove that when the parties made the contract, Embry-Riddle

    knew or reasonably should have known of the special circumstances leading to such

    damages.



                                 REQUEST TO CHARGE NO. 17
                             Affirmative Defense – Unclean Hands

           In this case, Embry-Riddle has asserted the affirmative defense of “unclean hands”

    as a defense to Plaintiff’s damages claim that Embry-Riddle engaged in unlawful gender

    discrimination and breached its contract with Plaintiff by failing to investigate and

    adjudicate his complaint of sexual misconduct against Jane Roe.

           The defense of “unclean hands” applies where the plaintiff exercises “bad faith

    relative to the matter in which he seeks relief,” regardless of whether the defendant acted

    improperly.9 To assert an unclean hands defense, a defendant must show that (1) the

    plaintiff’s wrongdoing is directly related to the claim, and (2) the defendant was personally

    injured by the wrongdoing.10

           Specifically, Embry-Riddle contends that Plaintiff has unclean hands because,

    during its investigation, Plaintiff lied about having and refused to produce cell phone

    evidence that depicted his and Jane Roe’s relative levels of intoxication at or around the


    9 Precisions Instrument Mfg. Co. v. Auto. Maintenance Machinery Co., 324 U.S. 806, 814
    (1945).
    10 Bailey v. TitleMax of Ga., Inc., 776 F.3d 797, 801 (11th Cir. 2015); see also Rybovich

    Boat Works, Inc. v. Atkins, 585 So.2d 270, 272 (Fla. 1991).

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    time of their alleged sexual activity.

           If you find that Embry-Riddle has proven by a preponderance of the evidence that

    Plaintiff’s are unclean, then you must find in favor of Embry-Riddle on its unclean hands

    defense as set forth on the verdict form.




           This 1st day of November, 2021.


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                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 1st day of November, 2021, I filed the foregoing

    DEFENDANT’S PROPOSED JURY INSTRUCTIONS with the Clerk of the Court using

    CM/ECF, which will electronically serve a copy to the below parties of record:

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                                             /s/ Shaina Stahl
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